Case 2:20-cv-00508-BRM-JAD Document 1 Filed 01/15/20 Page 1 of 40 PageID: 1



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                 IN THE UNITED STATES DISTRICT COURT
                    FOR THE DISTRICT OF NEW JERSEY


 YOUNG AMERICANS FOR LIBERTY AT MONTCLAIR            Civil Case No.:
 STATE UNIVERSITY, and MENA BOTROS;

              Plaintiffs,
                                                     VERIFIED COMPLAINT
 v.

 The Trustees of Montclair State University—ROSE
 L. CALI, MARY A. COMITO, VICE-CHAIR DR.                  Jury Trial Demanded
 FRANCIS M. C. CUSS, CHAIR GEORGE J. HILTZIK,
 LAWRENCE R. INSERRA, JR., DOUGLAS L.
 KENNEDY, RALPH A. LAROSSA, JEAN MARC DE
 GRANDPRE, JOHN L. MCGOLDRICK, WILLIAM T.
 MULLEN, PRESTON D. PINKETT III, SECRETARY
 KENT SLUYTER, and STUDENT NIKITA WILLIAMS—
 all individually and all in their official capacities as
 members of the Montclair State University Board
 of Trustees; SUSAN A. COLE, President of Montclair
 State University, in her official and individual
 capacities; KAREN PENNINGTON, Vice President of
 Student Development & Campus Life of Montclair
 State University, in her official and individual
 capacities; MARGAREE COLEMAN-CARTER, Dean of
 Students of Montclair State University, in her

                                          1
Case 2:20-cv-00508-BRM-JAD Document 1 Filed 01/15/20 Page 2 of 40 PageID: 2



 official and individual capacities; PAUL M. CELL,
 Chief of Police of Montclair State University, in his
 official and individual capacities; KALUBA
 CHIPEPO, Sergeant of Campus Police for Montclair
 State University, in his official and individual
 capacities; YOLANDA ALVAREZ, Chair of Bias
 Education Response Taskforce of Montclair State
 University, in her official and individual capacities;
 HAMAL STRAYHORN, Co-Chair of Bias Education
 Response Taskforce of Montclair State University,
 in her official and individual capacities; THE
 STUDENT GOVERNMENT ASSOCIATION OF
 MONTCLAIR STATE UNIVERSITY INC.,

              Defendants.


                                Verified Complaint
    Plaintiffs Young Americans for Liberty at Montclair State University and Mena

Botros, by and through counsel, and for their Complaint against Defendants, state

as follows:

    1.   Pursuant to Local Rule 10.1, the mailing addresses of the parties are:

    Young Americans for Liberty at Montclair State University
    16 Suburbia Drive
    Jersey City, NJ 07305

    Mena Botros
    16 Suburbia Drive
    Jersey City, NJ 07305

    Trustees of Montclair State University
    Office of the President
    1 Normal Avenue
    Montclair, NJ 07043

    Susan A. Cole
    President, Montclair State University
    Office of the President
    1 Normal Avenue
    Montclair, NJ 07043




                                           2
Case 2:20-cv-00508-BRM-JAD Document 1 Filed 01/15/20 Page 3 of 40 PageID: 3



    Karen Pennington
    Vice President, Student Development & Campus Life of Montclair State
    University
    1 Normal Avenue
    Montclair, NJ 07043

    Margaree Coleman-Carter
    Dean of Students, Montclair State University
    1 Normal Avenue
    Montclair, NJ 07043

    Paul M. Cell
    Chief of University Police, Montclair State University Police
    1 Normal Avenue
    Montclair, NJ 07043

    Kaluba Chipepo
    Sergeant of Campus Police, Montclair State University
    1 Normal Avenue
    Montclair, NJ 07043

    Yolanda Alvarez
    Chair of Bias Education Response Taskforce
    1 Normal Avenue
    Montclair, NJ 07043

    Hamal Strayhorn
    Co-Chair of Bias Education Response Taskforce
    1 Normal Avenue
    Montclair, NJ 07043

    The Student Government Association of Montclair State University Inc.
    1 Normal Avenue
    Montclair, NJ 07043

                                  Introduction
    2.   The campus of a public university is a supposed to be a “marketplace of

ideas.” But on September 10, 2019, Montclair State University (“MSU” or the

“University”) shut down three students who were peacefully expressing their ideas

in a generally accessible, common outdoor area of campus. The students dressed in
orange jumpsuits and held up signs voicing their support—as pretend criminals—


                                         3
Case 2:20-cv-00508-BRM-JAD Document 1 Filed 01/15/20 Page 4 of 40 PageID: 4




for gun-free zones. The students were expressing their views that laws creating

gun-free zones benefit only criminals and endanger law-abiding citizens. A campus

police officer forced them to stop their expressive activity because they had not

obtained prior permission from the University to speak on campus.

    3.   The University maintains that Plaintiffs must obtain permission to speak

at least two weeks in advance under the University’s Demonstrations & Assemblies

Policy. Moreover, the University can deny a student’s request for permission or

indefinitely withhold it for any reason. This two-week requirement imposes an

unconstitutional prior restraint on all students throughout the entire campus.

    4.   The University and the Student Government Association (the “SGA”) also

maintain an unconstitutional set of student organization regulations which

delegates to the SGA unbridled discretion to grant privileges and financial benefits

from mandatory student fees based on an organization’s “Class.” This Class

determination explicitly requires the SGA to scrutinize a student organization’s

viewpoint and the content of its speech, and it places virtually no limits on the

SGA’s ability to favor and disfavor certain viewpoints.

    5.   The SGA has utilized this unbridled discretion to relegate Plaintiff YAL to

the lowest possible classification which substantially limits Plaintiff’s ability to
obtain funding even though all of Plaintiff’s members are required to pay

mandatory student fees.

    6.   The University also maintains a Bias Education Response Taskforce to

punish so-called “bias incidents” (i.e., “conduct, speech or expression that is

motivated by bias or prejudice”), a term which is defined so broadly that it

encompasses protected speech on important social and political discussions in which

Plaintiffs regularly engage.




                                            4
Case 2:20-cv-00508-BRM-JAD Document 1 Filed 01/15/20 Page 5 of 40 PageID: 5




    7.   The First and Fourteenth Amendments require this Court to strike down

these unconstitutional restrictions on speech and to enjoin the University from

enforcing these restrictions against Plaintiffs.

                              Jurisdiction and Venue
    8.   This is a civil rights action that raises federal questions under the United

States Constitution, particularly the First and Fourteenth Amendments, and the

Civil Rights Act of 1871, 42 U.S.C. § 1983.

    9.   This Court has original jurisdiction over these federal claims pursuant to

28 U.S.C. §§ 1331 and 1343.

    10. This Court has authority to award the requested damages pursuant to 28

U.S.C. § 1343; the requested declaratory relief pursuant to 28 U.S.C. §§ 2201–02;

the requested injunctive relief pursuant to 28 U.S.C. § 1343 and Fed. R. Civ. P. 65;

and costs and attorneys’ fees under 42 U.S.C. § 1988.

    11. Venue is proper in this district pursuant to 28 U.S.C. § 1391(b) because the

Defendants reside in this district and because all of the acts described in this

Complaint occurred in this district.

                                       Plaintiffs
    12. Plaintiff Young Americans for Liberty at Montclair State University
(“YAL”) is an unincorporated expressive association made up of Montclair State

University students.

    13. YAL is a non-partisan, student-led organization, and part of its mission is

to be an expressive association at MSU.

    14. YAL has been a recognized student organization since 2018 and it is

currently classified as a Class IV student organization by the SGA.

    15. YAL is affiliated with Young Americans for Liberty, a non-partisan

organization with over 500 chapters at public and private universities throughout
the country.
                                           5
Case 2:20-cv-00508-BRM-JAD Document 1 Filed 01/15/20 Page 6 of 40 PageID: 6




     16. YAL’s mission is to identify, educate, train, and mobilize students to

promote the principles of the natural rights of life, liberty, and property.

     17. Plaintiff Mena Botros is a sophomore at MSU and the President of YAL.

     18. Plaintiffs desire to express their message on MSU’s campus through a

variety of means, including flyers, signs, peaceful demonstrations, hosting tables

with information, inviting speakers to campus, and talking with fellow students

about the natural rights of life, liberty, and property, among other things.

     19. When engaging in these expressive activities, Plaintiffs will discuss

political, religious, social, cultural, and moral issues and ideas.

                                      Defendants
     20. Defendants Rose L. Cali, Mary A. Comito, Dr. Francis M. C. Cuss, George

J. Hiltzik, Lawrence R. Inserra, Jr., Douglas L. Kennedy, Ralph A. LaRossa, Jean

Marc de Grandpre, John L. McGoldrick, William T. Mullen, Preston D. Pinkett III,

Kent Sluyter, and Nikita Williams, are, and were at all times relevant to this

Complaint, members of the Board of Trustees of the Montclair State University

(collectively, “Trustee Defendants”), a public university organized and existing

under the laws of New Jersey.

     21. Among other duties, Trustee Defendants adopt and authorize policies that
govern students at MSU, including the policies challenged herein. (Ex. 1 at 1, 5–6,

Art. I, Title IV.)

     22. Each Trustee Defendant is responsible for enacting, amending, and

repealing the Board of Trustees’ policies. (Ex. 1 at 1, 5–6, Art. I, Title IV.)

     23. Trustee Defendants are each sued in their individual and official

capacities.

     24. Defendant Susan A. Cole is, and was at all times relevant to this

Complaint, the President of MSU. The Board of Trustees has delegated to
Defendant Cole the power to exercise discretionary authority and perform duties
                                            6
Case 2:20-cv-00508-BRM-JAD Document 1 Filed 01/15/20 Page 7 of 40 PageID: 7




vested in the Board of Trustees related to the operation, control, and management

of the University. (Ex. 1 at 1, Art. II.)

    25. Cole is responsible for the administration and enforcement of policies and

regulations relating to the operation of the University. Cole has the authority to

delegate this authority among subordinates.

    26. Thus, Cole is responsible for promulgating, implementing, and enforcing

the University policies, procedures, and practices that are depriving Plaintiffs and

other students of their constitutional rights and are challenged in this suit.

    27. Cole also has the authority to review, approve, or reject the decisions of

other University officials and the other non-Trustee Defendants regarding the

policies, procedures, and practices challenged in this suit.

    28. Cole authorized, approved, or implemented the policies, procedures, and

practices challenged herein. She has also failed to stop any MSU officials from

applying these policies, procedures, and practices against the Plaintiffs.

    29. Defendant Cole is sued in her individual and official capacities.

    30. Defendant Karen Pennington is, and was at all times relevant to this

Complaint, the Vice President of Student Development & Campus Life at MSU.

Pennington oversees all of Student Development & Campus Life, which includes the
Office of the Dean of Students and the Bias Education Response Taskforce.

    31. Pennington authorized, approved, or implemented the policies, procedures,

and practices relating to the Speech Permit Policy and the Bias Education Response

Taskforce policies, procedures, and practices. She has also failed to stop any MSU

officials from applying these policies, procedures, and practices against the

Plaintiffs. Pennington is sued in her individual and official capacities.

    32. Defendant Margaree Coleman-Carter is the Dean of Students at MSU. She

is in charge of the Office of the Dean of Students, which is responsible for


                                            7
Case 2:20-cv-00508-BRM-JAD Document 1 Filed 01/15/20 Page 8 of 40 PageID: 8




approving, modifying, or denying requests for students to speak on campus under

the Speech Permit Policy.

     33. Coleman-Carter also reviews bias incident reports and has the power to

discipline students for violating University Policies.

     34. Coleman-Carter and her subordinates in the Office of the Dean of Students

enforced the Speech Permit Policy against Plaintiffs.

     35. Coleman-Carter is sued in her individual and official capacities.

     36. Defendant Paul M. Cell is the Chief of Police for Montclair State

University. Defendant Cell oversees and manages the University Police of MSU.

     37. Defendant Cell is responsible for enforcing MSU’s policies, including the

Speech Permit Policy.

     38. Defendant Cell and his subordinates in the University Police enforced the

Speech Permit Policy against Plaintiffs.

     39. Defendant Cell is also responsible for the University Police’s involvement

in responding to, investigating, and enforcing regulations against “bias incidents.”

     40. Defendant Cell is sued in his individual and official capacities.

     41. Defendant Kaluba Chipepo is the Sergeant of Campus Police for Montclair

State University Police.
     42. Defendant Chipepo enforced the Speech Permit Policy against Plaintiffs on

September 10, 2019 when he ordered them to stop engaging in their expressive

activity.

     43. Defendant Chipepo is sued in his individual and official capacities.

     44. Defendant Yolanda Alvarez is the Chair of MSU’s Bias Education

Response Taskforce. Alvarez is also the Associate Dean of Students. As the

Taskforce Chair, Alvarez has the power to promulgate, implement, and enforce

policies, procedures, and practices for the Bias Education Response Taskforce,


                                           8
Case 2:20-cv-00508-BRM-JAD Document 1 Filed 01/15/20 Page 9 of 40 PageID: 9




including the ones that are depriving Plaintiffs and other students of their

constitutional rights and are challenged in this suit.

     45. Defendant Alvarez is sued in her individual and official capacities.

     46. Defendant Hamal Strayhorn is the Co-Chair of MSU’s Bias Education

Response Taskforce. Strayhorn is also the Director of the Office for Social Justice

and Diversity. As the Taskforce Co-Chair, Strayhorn has the same authorities and

powers as Ms. Alvarez, described above.

     47. Defendant Strayhorn is sued in his individual and official capacities.

     48. Defendant Student Government Association of Montclair State University

Inc. (“SGA”), a non-profit corporation incorporated and operating in New Jersey, is

the official student government association for MSU.

     49. SGA is responsible for administering and overseeing the use and

disbursement of mandatory Student Government Association Fees collected from

each undergraduate student. (Ex. 2 at 2.)

     50. SGA also sets policies and procedures governing student organizations on

campus. In particular, SGA establishes requirements for a student organization to

be officially recognized at MSU and sets and enforces the benefits, monetary and

otherwise, to which student organizations are entitled. (Ex. 2 at 2.)

                                        Facts
I.   The University’s unconstitutional policies restrict and suppress
     student speech.
     51. The University maintains three unconstitutional sets of policies: (1) the

Demonstrations and Assemblies Policy, (2) the student organization registration

and funding regulations, and (3) the “bias incident” regulations and Bias Education

Response Taskforce.




                                            9
Case 2:20-cv-00508-BRM-JAD Document 1 Filed 01/15/20 Page 10 of 40 PageID: 10



A.   The Speech Permit Policy requires all students to obtain permission
     two weeks in advance before speaking on campus and does not
     provide any objective guidelines to restrain administrative discretion.
     52. The Demonstrations and Assemblies Policy (the “Speech Permit Policy” or

“Policy”) regulates all expressive activity on campus, including (i) demonstrating

and assembling to provide information, express views, or protest, (ii) displaying

posters and distributing literature, (iii) organizing activities that present differing

viewpoints, and (iv) expressing views at all organized events and activities where

the opportunity for such expression is offered by the organizers. (Ex. 3 at 1.)

     53. As detailed below, the Speech Permit Policy, facially and as applied, is an

unconstitutional prior restraint on speech because it (i) contains no objective

guidelines to restrict the University’s discretion, (ii) fails to ensure timely decision

making on a student’s request to speak, (iii) unconstitutionally discriminates

against the content or viewpoint of a student’s speech, (iv) and because two weeks is

an unconstitutional and unreasonable amount of time to require advance

permission.

     54. Students may not “demonstrate or assemble” without obtaining written

permission from the Office of the Dean of Students at least two weeks in advance.

(Ex. 3 at 2.)

     55. But the Speech Permit Policy does not define two key terms:
“demonstration” or “assembly.”

     56. The only exception from this two-week requirement is where a student’s

expression qualifies as “spontaneous” and is made “in response to emergent

situations where advance planning is not possible.” (Ex. 3 at 3.)

     57. The Policy restricts spontaneous expression to two small outdoor locations:

a) the Plaza in front of the Student Center, and b) the Amphitheater. (Ex. 3 at 3.)

Any students engaging in spontaneous expression also “must report that
information immediately to the Office of the Dean of Students.” (Ex. 3 at 3.)

                                           10
Case 2:20-cv-00508-BRM-JAD Document 1 Filed 01/15/20 Page 11 of 40 PageID: 11




     58. To request permission to speak—regardless of how small an event is—a

student must fill out a “Request for Demonstration, Assembly, Presentation or

Forum” form, which requires the following information:
     a) the identity of the University employee, student, group or organization
     making the request;
     b) the date(s) and time(s) of the event;
     c) the desired location for the event;
     d) the planned objective of the event;
     e) the materials that will be used to conduct the event, including
     information concerning any music or sound amplification;
     f) for University groups or organizations or University sponsored groups or
     organizations, the number of people expected to participate in the event;
     and
     g) the estimated number of people the event organizers expect to attract to
     the event.
(Ex. 3 at 2.)
     59. After receiving this Request Form, the Office of the Dean of Students may

approve, modify, or deny a request to demonstrate or assemble for any reason. The

Speech Permit Policy does not require the Office of the Dean of Students to approve,

modify, or deny such a request within any set timeframe.

     60. The Speech Permit Policy authorizes University officials to grant
exceptions based upon “special circumstances” but fails to define “special

circumstances.” (Ex. 3 at 3.) Accordingly, the Office of the Dean of Students has the

power to selectively enforce the Speech Permit Policy based upon the content and

viewpoint of students’ speech.

     61. The Speech Permit Policy thus grants Defendant Coleman-Carter and the

Office of the Dean of Students unbridled discretion to grant or deny students

permission to speak on campus.

     62. The Speech Permit Policy also limits demonstrations and assemblies to
times between 8:00 a.m. and 10:00 p.m. (Ex. 3 at 2.)

                                              11
Case 2:20-cv-00508-BRM-JAD Document 1 Filed 01/15/20 Page 12 of 40 PageID: 12




     63. The Speech Permit Policy also prohibits “[s]igns affixed to poles or sticks.”

(Ex. 3 at 2.)

     64. If a student violates the Speech Permit Policy, he or she “will be subject to

disciplinary action under applicable University policies, … and the Student Code of

Conduct.” (Ex. 3 at 3.)

     65. The University police are authorized to enforce the Speech Permit Policy

and take appropriate action to curb any violations. (Ex. 3 at 3.)

B.   The University authorizes the SGA to punish recognized student
     organizations who express disfavored viewpoints.
     66. The University’s student organization regulations (the “Class System”)

authorize the SGA to reward favored groups with a high “Class” status, while

disfavoring groups like YAL with a low status which excludes them from many of

the benefits enjoyed by other student organizations.

     67. The Trustee Defendants possess the authority to delegate authority to

“carry[] out the purpose of the college” and, accordingly, to set the amount of and

disburse tuition fees, including student activity fees. N.J. Stat. § 18A:64-13,

§ 18A:64-6(e), (f), (k), (o).

     68. The University charges each undergraduate student a mandatory student

fee as part of tuition. This includes a portion titled “Student Government
Association Fee” (the “SGA Fee”). (Ex. 4 at 1–2.)

     69. For the 2019–2020 academic year, the SGA Fee is $48.90 per student, per

semester for full-time students, and $3.26 per credit hour, per semester for part-

time, undergraduate students. (Ex. 4 at 1.)

     70. With approximately 17,000 undergraduate students, this amounts to

approximately $1,500,000 collected through the SGA Fee and allocated to the SGA

annually.



                                          12
Case 2:20-cv-00508-BRM-JAD Document 1 Filed 01/15/20 Page 13 of 40 PageID: 13




    71. Plaintiff Mena Botros is currently a sophomore by credit and has paid

$280.36 in student fees since he started attending MSU. This total includes $48.90

for Fall 2017, $48.90 for Spring 2018, $35.86 for Fall 2018, $48.90 for Spring 2019,

$48.90 for Fall 2019, and $48.90 for Spring 2020.

    72. The SGA works with the University Finance and Treasury Department to

set an annual budget. (Ex. 5 at 1.)

    73. The University has granted the SGA discretion to utilize the SGA fees in

the manner determined by the SGA. (Ex. 2 at 2, Art. II, § 4.C–D.)

    74. The University has granted the SGA plenary authority “to regulate the

activities of student organizations,” including the ability to “charter, rescind

charters, and provide for the regulation of the Student organizations” at MSU, and

to “withhold approval of student activities and functions.” (Ex. 2 at 1–2.)

    75. Pursuant to this authority, the SGA has set up a literal “Class” system

that grants certain student organizations special benefits, including substantial

financial advantages, based on the organization’s seniority and viewpoint expressed

by the organization.

    76. The SGA categorizes organizations as one of four Classes. Class I

organizations receive the most benefits, while Class IV organizations receive the
fewest. (Ex. 6 at 46–48; Ex. 7 at 2, 8, 14, 20.) The SGA has the authority to set the

amount and type of benefits at its discretion each year and to distribute those

benefits to organizations as it sees fit.

    77. For example, Class I organizations currently receive (i) a yearly budget set

by the SGA, (ii) the ability to ask for cash advances, (iii) up to $5,000 in emergency

appropriations and $5,000 in supplemental appropriations, (iv) the ability to buy

equipment, (v) the ability to have a flexible budget, (vi) the ability to keep a portion
of what they fundraise through advertising, and (vii) the ability to attend

conferences and conventions using SGA funds. (Ex. 6 at 47, 53, 55, 56, 59; Ex. 8 at
                                            13
Case 2:20-cv-00508-BRM-JAD Document 1 Filed 01/15/20 Page 14 of 40 PageID: 14




7–8; Ex. 7 at 2.) They also receive a number of non-monetary benefits, such as an

SGA legislative representative and priority for student office space. (Ex. 6 at 47; Ex.

7 at 2.)

     78. For the 2019–2020 academic year, Class II organizations (i) must ask the

legislature for money, (ii) are limited to $6,000 in appropriations per year, (iii) are

limited to $3,000 in emergency and supplemental appropriations, and (iv) must

share $40,000 between all Class II organizations each year. (Ex. 6 at 59–60, 62; Ex.

8 at 8.) Subject to the discretion of the SGA, Class II organizations may also request

any unappropriated surplus funds if the $40,000 is depleted. (Ex. 6 at 59–60.) Class

II organizations can also request student office space. (Ex. 6 at 47; Ex. 7 at 8.)

     79. Class III organizations are similarly limited, but are restricted to $3,000 in

appropriations per year, $2,000 in emergency and supplemental appropriations, and

must share $20,000 between all Class III organizations. (Ex. 6 at 59–60, 63; Ex. 8 at

8.) Subject to the discretion of the SGA, Class III organizations may also request

unappropriated surplus funds. (Ex. 6 at 60.) Class III organizations may not request

office space. (Ex. 6 at 47–48.)

     80. Class IV organizations are even more restricted. They cannot request

funding from the SGA Legislature like other organizations and instead must

fundraise to get money. (Ex. 6 at 48; Ex. 7 at 20.) They have no ability to request

emergency and supplemental appropriations. (Ex. 8 at 8; Ex. 6 at 59.)

     81. The SGA can nevertheless grant Class IV organizations some funding by

matching “dollar for dollar total cash contributions” from the organization’s

members or from an organization’s fundraising, but only up to $500 each year, and

only up to $5,000 for all Class IV organizations collectively. (Ex. 6 at 60, 63; Ex. 8 at

5.) Even then, the SGA has complete discretion in determining whether to approve
the request to match funds.


                                           14
Case 2:20-cv-00508-BRM-JAD Document 1 Filed 01/15/20 Page 15 of 40 PageID: 15




    82. Unlike Classes I–III, Class IV organizations do not “have the privilege of

appropriating money from Unappropriated surplus” student funds. (Ex. 6 at 50.)

That is, Class IV organizations cannot receive more than the small amount of

money set aside for them ($5,000 collectively for 2019–2020) for an academic year.

Again, the only way the Class System allows those funds to go to Class IV

organizations is by matching outside donations dollar for dollar.

    83. For all Classes I–IV, there are no objective criteria preventing the SGA

from limiting or denying requests for appropriations, office space, or any other

benefit based on an organization’s views or its content. (E.g., Ex. 8 at 8.) This

includes emergency and supplemental appropriations, as well as requests for

unappropriated surplus funds.

    84. The SGA assigns an organization to a Class based on the organization’s

viewpoint, as well as a number of other subjective and discretionary considerations.

For example, the SGA will classify an organization as Class I only if the SGA

believes that organization has “an appeal that reaches the general interest of the

entire campus community or … that fosters pride and mobilizes awareness of the

interests of a large, distinct, and prolific subculture of the campus community, as

deemed by the discretion of the chartering process.” (Ex. 6 at 46; Ex. 7 at 2.)

    85. On the other hand, the SGA classifies an organization as Class III or Class

IV if it “meets the needs of a very specific and unique interest of the campus

community” and attracts students who “are yet to be specifically represented by a

chartered organization” (Ex. 6 at 47–48; Ex. 7 at 14, 20.)

    86. An organization is considered Class IV if the SGA determines that it is an

“entry level organization[],” but there are no definitions or guidelines for making

this determination. (Ex. 6 at 48; Ex. 7 at 20.)
    87. Class IV organizations are required to obtain approval from SGA to re-

charter their organization every year. And Class I, II, and III organizations are
                                           15
Case 2:20-cv-00508-BRM-JAD Document 1 Filed 01/15/20 Page 16 of 40 PageID: 16




required to obtain approval from SGA to re-charter their organization every two

years. (Ex. 7 at 2, 8, 14, 20.)

     88. The SGA also heavily considers an organization’s views and content when

it decides whether to approve or “re-charter” student organizations.
     89. To charter, the organization must, inter alia, submit a draft constitution,

disclose the nature and purpose of the club, and appear before the SGA’s

Organizational Review Committee in person to describe events it intends to hold.

The organization must answer questions from the SGA such as “How does the

organization differ from other organizations on campus?” and “How does this

organization benefit the campus community?” (Ex. 9 at 3–7, Ex. 10 at 1.)

     90. Existing organizations must also fill out an accreditation report and

describe events from the past year(s) when re-chartering. (Ex. 7 at 5, 8, 14, 20.)

     91. All student organizations must also submit a proposed budget each year.

(Ex. 8 at 17–19.) To get a budget approved, all student organizations must, inter

alia, appear before the SGA twice, first before the SGA Appropriations Committee

to answer “questions concerning the budget and recommended changes.” (Ex. 8 at

19.) If the Appropriations Committee approves the budget, it will recommend a vote

to the entire SGA Legislature. (Ex. 8 at 19.)

     92. “At the Legislative meeting, the organization will be asked questions

concerning the nature of the programming, and the related costs. The

organization must be prepared to answer questions covering all aspects of

their programming and to justify all expenses.” (Ex. 8 at 19.) The Legislature

will then vote to either approve or deny the budget request. (Ex. 8 at 19.)

     93. Moreover, “[f]ailure to sufficiently answer legislators’ questions may result

in a lower budget.” (Ex. 8 at 19.)
     94. The SGA also determines an organization’s Class by seniority. A Class III

organization must spend two years as Class III before it is eligible to advance to
                                          16
Case 2:20-cv-00508-BRM-JAD Document 1 Filed 01/15/20 Page 17 of 40 PageID: 17




Class II, and a Class II organization must similarly spend four consecutive years as

Class II before it can advance to Class I. (Ex. 6 at 46–47; Ex. 7 at 2, 8.)

     95. In addition to assessing an organization’s viewpoint and seniority, the SGA

also determines an organization’s Class by maintaining a tier system within each

Class to “hold organizations accountable for their performance” and to “guide them

in their endeavors as they strive to advance classification within the SGA.” (Ex. 7 at

3, 9, 15, 21.)
     96. The SGA has no objective guidelines or criteria that require it to assess

student organizations on viewpoint- and content-neutral terms.

     97. The SGA has no objective guidelines or criteria enabling student

organizations as a matter of right to access student funds.

     98. In short, the SGA allocates student-funded money and other substantial

benefits through its “Class” system by explicitly considering an organization’s

viewpoint, extensively assessing an organization’s purpose and content during

charterment and re-charterment, by implementing a seniority system, and through

its discretionary and discriminatory “tier” system.

C.   The University threatens coercive re-education, investigations,
     discipline, and criminal investigation for students who engage in
     protected speech.
     99. The University maintains a Bias Education Response Taskforce (“BERT”)

made up of various university faculty and administrators, including Captain Kieran

Barrett and Lieutenant Carlos Ortiz of the University Police, and is co-headed by

Defendants Alvarez and Strayhorn. (Ex. 11 at 2.)

     100. According to the University, BERT exists “to provide a well-coordinated

and comprehensive response to incidents of intolerance and bias with respect to

race, ethnicity, gender, sexual orientation, disability, religion and national origin.”

(Ex. 11 at 1.)


                                           17
Case 2:20-cv-00508-BRM-JAD Document 1 Filed 01/15/20 Page 18 of 40 PageID: 18




      101. The University defines a “bias incident” as “conduct, speech or expression

that is motivated by bias or prejudice but doesn’t involve a criminal act.” (Ex. 11 at

6.)

      102. On its “bias incident” webpage, the University links to an article on

www.tolerance.org to define a “bias incident.” (Ex. 11 at 6–8.) The article has ten

examples of bias incidents, which include considering whether (i) “[t]he target(s)

believe the incident was motivated by bias,” (ii) the “targets and perpetrators are of

a different race, religion, national origin, gender or sexual orientation,” and (iii)

“acts are directed against members of groups whose presence in the community or

school is opposed—e.g. Mexican immigrant students in a community where nativist

groups are active.” (Ex. 11 at 6–7.)

      103. The University encourages students who believe they were subject to a

“bias motivated act/incident on campus” to report it to BERT “as promptly as

possible.” (Ex. 11 at 2.) The University allows students to report bias incidents

through a hyperlink on the BERT webpage. (Ex. 11 at 2.)

      104. The bias incident report form states that “[a]ll reports will be evaluated to

determine if they should be further investigated for potential violations of

University policy and/or criminal law.” (Ex. 11 at 1.)
      105. The bias incident report form allows students to fill out basic information

about the alleged “bias incident,” to identify the persons involved, and encourages

them to “be as specific as possible,” to provide any available supporting

documentation, and to identify the targeted “identities and/or communities.” (Ex. 12

at 2–3.)

      106. The form also allows a student to request to speak with someone from

BERT about the incident. (Ex. 12 at 2.)




                                            18
Case 2:20-cv-00508-BRM-JAD Document 1 Filed 01/15/20 Page 19 of 40 PageID: 19




    107. The University empowers Defendant Coleman-Carter, BERT, and

University Police to manage, investigate, and punish students for bias incidents.

(Ex. 11 at 1–3, 5.)

    108. The Office of the Dean of Students receives bias incident reports. Upon

receiving a bias incident report, the office will “immediately: Contact University

Police and/or the Vice President of the SDCL (or designee), who will assume

responsibility for managing the reported incident.” (Ex. 11 at 2.)

    109. The office of the Dean of Students also closely “collaborate[s] with

University Police and the BERT Task Force to assess the situation and determine

next steps.” (Ex. 11 at 2–3.)

    110. The University Police also use their coercive power to further BERT’s

reach on campus. The University Police state on their webpage that they are “an

active member” of BERT’s ongoing mission “to help eradicate instances of bias

intimidation.” (Ex. 11 at 5.)

    111. In this same vein, the University has a number of statements and

education initiatives that target disfavored speech and thus inform the scope of

BERT and the definition of a “bias incident.” (Ex. 11 at 9–11.)

    112. The University has published a Human Relations Statement on Campus
Climate for Civility and Human Dignity, which states that MSU must have a

“special sensitivity to those most likely to be subjected to disrespect, abuse, and

misunderstanding” and that MSU’s goal is to restrict expression in a manner that

MSU deems “appropriate in a multi-ethnic and multi-cultural society.” (Ex. 13 at 1.)

    113. The University has not published any other procedures or policies for

handling bias response reports. Nor has the University published any publicly

available data or logs of incident reports.

    114. BERT also has authority to discipline students it investigates for “bias
incidents” by issuing sanctions under the Student Code of Conduct, which provides
                                              19
Case 2:20-cv-00508-BRM-JAD Document 1 Filed 01/15/20 Page 20 of 40 PageID: 20




that “[v]iolations of the Code of Student Conduct that can be proven to have been

motivated by illegal bias will result in the imposition of more severe sanctions.” (Ex.

14 at 9.)

       115. The Student Code of Conduct also prohibits protected speech by defining

“discriminatory harassment, intimidation or bullying” to include “any gesture,

written, verbal or physical act … whether it be a single incident or a series of

incidents” that the “student directs at a specific group or individual.” (Ex. 12 at 14–

15.)

       116. If the University determines that a student has violated this vague and

overly broad definition of harassment, it can issue any discipline, from probation to

expulsion. (Ex. 12 at 15.)

       117. Defendant Coleman-Carter may also issue a “University No Contact

Order” against any student that the University determines has violated this same

provision. (Ex. 12 at 23.) There are no limits set on the duration of a No Contact

Order.

       118. Defendant Coleman-Carter may also issue any level of sanctions, from

warnings to expulsions, for any student who violates any of the University’s

“written policies, regulations, and announcements.” (Ex. 12 at 22.)
       119. The Student Code of Conduct further specifies that “[s]tudent groups and

organizations recognized by student government and/or their officers may be

charged with and held responsible for violations of the Code of Student Conduct.”

(Ex. 12 at 22.) The University also threatens various “institutional sanctioning.”

(Ex. 12 at 22.)




                                           20
Case 2:20-cv-00508-BRM-JAD Document 1 Filed 01/15/20 Page 21 of 40 PageID: 21



II. Defendants’ enforcement and threats of enforcement have deprived
    Plaintiffs of their First Amendment rights.

A.   The University shut down Plaintiffs’ speech.
     120. On September 10, 2019, Mr. Botros and two other students stood outside

on a large sidewalk near University Hall and Feliciano School of Business on MSU’s

campus to express their disagreement with laws banning law-abiding citizens from

carrying guns for self-defense. (Ex. 15.)

     121. The students wore orange jumpsuits and held up three signs, each of

which said one of the following: “every civilian gun is a threat,” “disarm law abiding

citizens,” and “criminals for gun free zones.” (Ex. 15 at 1:21.)

     122. The students collectively paid $50.85 to purchase orange jumpsuits to

engage in this expressive activity, including $16.95 paid by Mr. Botros.

     123. The students were not blocking access to buildings or pedestrian traffic.

The students were speaking at normal levels and were not using amplified sound.

The students were not interfering with any MSU activities or other planned events

on campus.

     124. While the students were engaged in these activities, Defendant Chipepo, a

University Police Officer, approached Mr. Botros and the other students and

informed them that they were violating the Speech Permit Policy because they had
not obtained permission to speak from MSU officials.

     125. Defendant Chipepo told the students that they must obtain permission and

the office will want information on the group before they can continue. He also

stated that the office will set “a day, a time, and a location in order for you to legally

be here.” (Ex. 15 at 0:33–0:49.)

     126. When Mr. Botros asked what policy they were violating, Defendant

Chipepo replied that “the school’s policy” is that anyone who’s going to “have a

protest [must] go through the right channels.” (Ex. 15 at 1:22–1:32.)


                                            21
Case 2:20-cv-00508-BRM-JAD Document 1 Filed 01/15/20 Page 22 of 40 PageID: 22




     127. When Mr. Botros asked what would happen if they don’t cease, Defendant

Chipepo responded: “What you’re doing now, will just be terminated …. protests

cannot continue.” (Ex. 15 at 1:53–2:08.)

     128. Pursuant to Defendant Chipepo’s orders, Mr. Botros and the other

students stopped their expressive activity, left the area, and did not return.

     129. Because of the Speech Permit Policy, Plaintiffs are not engaging in certain

expressive activities to communicate their views on the MSU campus.

     130. Because of the Speech Permit Policy, Plaintiffs are chilled in their ability

to promote YAL at MSU and to discuss other important political, religious, and

ideological views on campus.

B.   The University’s Class System unconstitutionally restricts student
     association and penalizes Plaintiffs for engaging in protected speech.
     131. Plaintiffs desire to operate their student organization, Young Americans

for Liberty, at the University and to use student-fees for funding for many of its

events.

     132. As a political organization, many of YAL’s events and operations are

expressive or involve protected speech.

     133. Since it began operating at the University in 2018, YAL has been classified

by the SGA as a Class IV organization. Because the SGA has determined that YAL
is still “entry level” for the 2019–2020 school year, YAL is not eligible to request

funding, to receive more than $500 in matching contributions, or to receive any

supplemental or emergency funds for its events and operations.

     134. The SGA’s classification of YAL as a Class IV organization is a viewpoint-

and content-based violation of YAL’s speech.

     135. The SGA has no objective guidelines or regulations that restrain its ability

to make such determinations based on YAL’s viewpoint and the content of YAL’s
speech.

                                           22
Case 2:20-cv-00508-BRM-JAD Document 1 Filed 01/15/20 Page 23 of 40 PageID: 23




     136. Because the SGA has imposed a seniority system, YAL is not eligible for a

budget or for its fair share of funding from the mandatory student activity fees.

     137. Meanwhile, the University’s website lists 13 Class I organizations, 13

Class II organizations, 35 Class III organizations, and 11 Class IV organizations,

including YAL. (Ex. 16 at 1–3.)

     138. There are no political organizations other than YAL in Class IV. There are

several political organizations in Class III organizations, including the

YesSheCanCampaign, Environmental Club, and Animal Activists. Political Class II

organizations include the openly left organizations Justice for Education and

Femvolution. (Ex. 16 at 2–3.)

     139. YAL has been and will continue to be denied funding for its events because

the student organization regulations grant the SGA unbridled discretion to allocate

mandatory student fees based upon viewpoints favored by the SGA. The SGA has

utilized this discretion to favor the speech of certain student organizations and to

disfavor all other student speech, including Plaintiffs’.

C.   The Speech Permit Policy and BERT are preventing Plaintiffs from
     engaging in other core political speech.
     140. Plaintiffs desire to speak on campus on a number of topics which some

members of campus may oppose or consider controversial.
     141. For example, Plaintiffs desire to speak out against gun control laws and

criticize the deleterious impact that gun laws have on racial minorities. Specifically,

Plaintiffs desire to stand on sidewalks on the University’s campus, hold up signs

saying that gun laws are racist, and distribute literature showing the adverse

impact that gun laws have on racial minorities.

     142. Plaintiffs also desire to speak against minimum wage laws by setting up a

“unionized hot dog stand” and comparing its prices to a normal hot dog stand.



                                           23
Case 2:20-cv-00508-BRM-JAD Document 1 Filed 01/15/20 Page 24 of 40 PageID: 24




    143. Plaintiffs also desire to host anti-war events showing the number of

soldiers who have died overseas since 2017.

    144. Plaintiffs also desire to promote free speech as a fundamental

constitutional right by handing out pamphlets and holding up signs, even though

some increasingly criticize free speech as “dangerous” and biased against certain

groups.

    145. Plaintiffs desire to engage in these expressive activities, as well as many

others, throughout various open, generally accessible outdoor areas of campus

without having to obtain permission multiple weeks in advance and without being

confined to the time and location assigned to them by the Office of the Dean of

Students.

    146. The University’s prior permission requirement and the administrative

restrictions on spontaneous speech in the Speech Permit Policy prevent Plaintiffs

from engaging in expressive activities in the manner of their choosing even on

property that is held open to the students as a public forum.

    147. Since the University enforced the Speech Permit Policy against Plaintiffs,

Plaintiffs have greatly curtailed, restricted, and limited any efforts to express their

political views, engage in civil discourse, or to share political literature with
students and other University persons in any open, outdoor, generally accessible

areas of campus.

    148. Plaintiffs are also aware of the University’s Bias Education Response

Taskforce and its overly broad and vague definition of a “bias incident.” Plaintiffs

credibly fear that expressing their views on their preferred topics could result in

being reported, investigated, and punished by the BERT, the Office of the Dean of

Students, or other officials from Student Development and Campus Life.

    149. Plaintiffs credibly fear that University Police will investigate them for
criminal charges pursuant to a “bias incident” investigation. Plaintiffs also fear that
                                           24
Case 2:20-cv-00508-BRM-JAD Document 1 Filed 01/15/20 Page 25 of 40 PageID: 25




the University may seek to recommend Plaintiffs for “reeducation” through

counselling or by mandating that they attend some of its “educational” social justice

programs. Plaintiffs also credibly fear that the University will punish them and

impose sanctions according to the Student Code of Conduct for violating University

policies, including the unconstitutional discriminatory harassment policy and

Speech Permit Policy.

    150. Thus, the University’s ban on “bias incidents” and associated practices

chill Plaintiffs’ speech. They have deterred and continue to deter Plaintiffs from

speaking openly about issues of public concern. The only way for Plaintiffs to be

sure that they will not be investigated or punished is to engage in self-censorship.

                                Allegations of Law
    151. At all times relevant to this Complaint, each and all of the acts alleged

herein were attributed to the Defendants, who acted under color of a statute,

regulation, custom, or usage of the State of New Jersey.

    152. By forcing Mr. Botros to stop engaging in peaceful expressive activities in

an outdoor, generally accessible area of campus and requiring him to obtain

permission prior to engaging in speech with others on campus, the Defendants

enforced an unconstitutional prior restraint on speech and therefore violated the
Plaintiffs’ First Amendment free speech rights.

    153. By failing to adequately define key terms of the Speech Permit Policy such

as “demonstration,” “assembly,” “emergent situations,” and “special circumstances,”

the Defendants have maintained and enforced a set of policies and practices that

are unconstitutionally overbroad and vague and therefore violated Plaintiffs’ First

Amendment free speech and Due Process rights when they enforced the Speech

Permit Policy against Plaintiffs.

    154. By imposing a Class System with onerous registration requirements upon
student organizations that are funded largely by mandatory student fees, and by
                                          25
Case 2:20-cv-00508-BRM-JAD Document 1 Filed 01/15/20 Page 26 of 40 PageID: 26




failing to restrain the discretion of the SGA in administering this Class System,

Defendants are violating Plaintiffs’ First Amendment free speech rights.

    155. By explicitly considering a student organization’s viewpoint, the content of

its speech, its size, and its popularity when deciding whether to re-charter that

organization and what Class status it should have, Defendants are

unconstitutionally discriminating against YAL based on its viewpoint and the

content of its speech.

    156. By requiring Plaintiffs to pay a mandatory student activity fee that is used

to fund student organization speech on campus in a manner that is not viewpoint

neutral, Defendants are unconstitutionally compelling Plaintiffs’ speech.

    157. By failing to properly define key terms in the Class System, such as “entry

level,” “specific and unique interest,” “large and significant interest of the campus

community,” “general interest,” “large, distinct, and prolific subculture,” Defendants

maintain and enforce a set of policies and practices that are unconstitutionally

overbroad and vague and therefore violate Plaintiffs’ First Amendment free speech

and Due Process rights.

    158. By maintaining a Bias Education Response Taskforce and its associated

practices, Defendants maintain a set of policies and practices that
unconstitutionally discriminate against students based on the viewpoint and

content of a student’s speech and therefore violate Plaintiffs’ First Amendment free

speech rights.

    159. By failing to properly define a “bias incident” and associated operational

terms, such as “bias” or “prejudice,” Defendants maintain a set of policies and

practices that are unconstitutionally overbroad and vague and therefore violate

Plaintiffs’ First Amendment and Due Process rights.

    160. Each of the Plaintiffs are suffering harm from Defendants’ Speech Permit
Policy, Class System, Bias Incident regulations, and associated practices.
                                          26
Case 2:20-cv-00508-BRM-JAD Document 1 Filed 01/15/20 Page 27 of 40 PageID: 27




    161. Plaintiffs have no adequate or speedy remedy at law to redress the

deprivation of their constitutional rights. And unless this Court enjoins Defendants’

policies and conduct, each of the Plaintiffs will continue to suffer irreparable injury.

 Count I: The Speech Permit Policy violates Plaintiffs’ right to free speech.
    162. Plaintiffs repeat and reallege each of the allegations contained in

paragraphs 1–161 of this Complaint.

    163. By enforcing the two-week permission requirement in the Speech Permit

Policy against Plaintiffs on September 10, 2019, Defendants improperly denied

Plaintiffs their First Amendment right to engage in free speech.

    164. Defendants’ Speech Permit Policy and Defendants’ practice of forbidding

students and student organizations from engaging in speech activities without

express written consent at least two weeks in advance is an unconstitutional prior

restraint, facially and as applied, in violation of the First Amendment.

    165. Openly accessible common outdoor areas of campus at MSU are traditional

or designated public forums for MSU students to engage in free speech and

expression.

    166. Accordingly, the First Amendment prohibits MSU from engaging in

content or viewpoint discrimination against students who express themselves in
these accessible common outdoor areas of campus. This includes providing adequate

safeguards that prevent an MSU official from improperly excluding or restricting a

student’s speech based on the content of the message or the student’s viewpoint.

    167. The Speech Permit Policy is an unconstitutional prior restraint for

multiple reasons. The Speech Permit Policy requires two weeks prior permission

before engaging in expressive activities anywhere on campus.

    168. The Speech Permit Policy does not provide any objective criteria or

guidelines for Defendants to use when deciding whether to approve or reject a
student’s request to speak.
                                           27
Case 2:20-cv-00508-BRM-JAD Document 1 Filed 01/15/20 Page 28 of 40 PageID: 28




    169. The Speech Permit Policy fails to ensure prompt decision-making because

it contains no timeframe in which MSU administrators must rule on a student’s

request for permission to speak.

    170. The Speech Permit Policy requires Defendants to examine the content and

viewpoint of students’ speech in deciding whether to approve, modify, or reject a

students’ request to speak. It thus allows administrators to expressly discriminate

based on the viewpoint of the speaker or the content of the speech.

    171. Defendants’ Speech Permit Policy and associated practices are not the

least restrictive means of serving the University’s stated interests in allowing the

University to carry on its normal business and academic activities. Nor do they

serve a compelling state interest.

    172. Defendants’ Speech Permit Policy also fails to satisfy intermediate

scrutiny because it is not narrowly tailored to serve a significant governmental

interest and because it does not leave open ample alternative avenues of

communication.

    173. The Speech Permit Policy is also unconstitutionally overbroad, both

facially and as-applied, because it restricts a substantial amount of constitutionally

protected speech under key operative terms such as “demonstration,” “assembly,”
“emergent situations,” and “special circumstances.”

    174. Pursuant to 42 U.S.C. §§ 1983 and 1988, Plaintiffs are entitled to a

declaration that Defendants, through the Speech Permit Policy, violated Plaintiffs’

freedom of speech, facially and as-applied, and an injunction against Defendants’

Speech Permit Policy and associated practices and actions. Additionally, Plaintiffs

are entitled to compensatory and nominal damages in an amount to be determined

by the evidence and this Court and the reasonable costs of this lawsuit, including

their reasonable attorneys’ fees.


                                          28
Case 2:20-cv-00508-BRM-JAD Document 1 Filed 01/15/20 Page 29 of 40 PageID: 29



   Count II: The University’s Class System violates Plaintiffs’ free speech
                                   rights.
    175. Plaintiffs repeat and reallege each of the allegations contained in

paragraphs 1–161 of this Complaint.

    176. The First Amendment’s Freedom of Speech Clause prohibits the

government from compelling citizens to express or support a message not of their

own choosing.

    177. The First Amendment’s Free Speech Clause also prohibits public

universities from collecting a mandatory student fee that is used to fund student

organization speech if the student fees are not allocated in a viewpoint-neutral

manner.

    178. When a public university collects mandatory student fees and allows

registered student organizations to apply for funds from those student fees, or when

it otherwise makes those funds available to student groups, it creates a public

forum for student speech and expression.

    179. Similarly, when a public university allows student organizations to form

and register around shared beliefs and interests, and when it allows those same

organizations nonmonetary benefits such as representation in the student

government or the ability to advertise, meet, and host events on campus, it creates
a public forum for student speech and expression.

    180. Accordingly, a public university may not allow viewpoint or content-based

discrimination when it determines whether to officially recognize a student

organization, when it allocates student organization funds through mandatory

student fees, or when it allocates nonmonetary benefits to student organizations.

    181. Montclair State University has created a public forum for student speech

through its student organization Class System. Pursuant to the University’s Class

System for student organizations, Defendants engaged in content and viewpoint-
based discrimination by favoring the expressive activities of dozens of other student
                                         29
Case 2:20-cv-00508-BRM-JAD Document 1 Filed 01/15/20 Page 30 of 40 PageID: 30




organizations that receive Class I, II, or III status and receive substantial monetary

and nonmonetary benefits which Class IV organizations, including Plaintiffs’ YAL

chapter, do not receive.

        182. The University’s Class System runs afoul of Plaintiffs’ clearly established

First Amendment rights in a number of ways.

        183. Defendants’ Class System requires or allows officials to evaluate the

content and viewpoint of a student organization’s expression when deciding whether

to recognize the organization and when deciding a student organization’s Class—

and therefore what access to mandatory student fees and what nonmonetary

benefits it receives.

        184. Defendants engaged in viewpoint and content discrimination when they

classified YAL as a Class IV organization, thereby denying it certain nonmonetary

benefits and the ability to request almost any portion of the mandatory student

fees.

        185. Defendants’ Class System grants MSU officials, including SGA officials,

unbridled discretion when officially recognizing or classifying a student

organization.

        186. The Class System does not provide any objective criteria or guidelines for
Defendants to use when deciding whether to approve or reject a student

organization’s request for recognition or for funding.

        187. These grants of unbridled discretion to MSU officials violate the First

Amendment because they create a system in which student organizations are

reviewed without any objective or neutral standards, thus giving student

organizations no way to prove that a classification decision was based on

unconstitutional considerations.

        188. Because Defendants have failed to establish neutral, objective, and
comprehensive standards governing the criteria above, SGA officials are allowed to
                                             30
Case 2:20-cv-00508-BRM-JAD Document 1 Filed 01/15/20 Page 31 of 40 PageID: 31




engage in content and viewpoint discrimination when classifying student

organizations and determining the level of access to campus resources and student

fee funding they will receive.

    189. Defendants exercised that unbridled discretion when they classified

Plaintiffs’ YAL chapter as a Class IV organization.

    190. Defendants’ Class System denies student fee funds and nonmonetary

benefits to certain student organizations and grants other student organizations

less access to that funding based on a series of viewpoint and content-based

considerations, including the size, popularity, and interest in the organization.

    191. Defendants’ Class System requires MSU officials to determine an

organization’s “Class” by using factors that are either explicitly viewpoint-based or

that are effectively viewpoint-based because they grant those officials unbridled

discretion.

    192. Defendants engaged in viewpoint discrimination when they classified

Plaintiffs’ YAL chapter as a Class IV organization, thus shutting it out from almost

all of the student activity fees.

    193. Through the Class System, Defendants also compel Mr. Botros to pay a

mandatory student activity fee that is used to fund student organization speech on
campus in a manner that is not viewpoint neutral.

    194. Specifically, Defendants’ Class System requires Plaintiffs to fund and

support speech and viewpoints with which they disagree and which they find

offensive and objectionable.

    195. Defendants’ Class System does not satisfy strict scrutiny because it

supports no compelling government interest and because it is not narrowly tailored

toward any such concerns.




                                          31
Case 2:20-cv-00508-BRM-JAD Document 1 Filed 01/15/20 Page 32 of 40 PageID: 32




    196. Key terms in the University’s Class System are also unconstitutionally

overbroad, both facially and as-applied, because they restrict a significant amount

of constitutionally protected speech.

    197. Defendants’ hierarchical ranking based on an organization’s viewpoint

reaches a substantial amount of protected speech.

    198. By determining Class hierarchy based upon vague, undefined terms such

as “entry level,” “specific and unique interest,” “large and significant interest of the

campus community,” “general interest,” “large, distinct, and prolific subculture,”

Defendants are maintaining a set of policies and practices that are

unconstitutionally overbroad, facially and as-applied, and therefore violate each of

the Plaintiffs’ First Amendment free speech rights.

    199. Defendants’ Class System thus violates Plaintiffs’ right to free speech

under the First Amendment.

    200. Pursuant to 42 U.S.C. §§ 1983 and 1988, Plaintiffs are entitled to a

declaration that Defendants, through the Class System, violated Plaintiffs’ First

Amendment right to freedom of speech facially and as-applied, and an injunction

against Defendants’ Class System and associated practices and actions.

Additionally, Plaintiffs are entitled to compensatory and nominal damages in an
amount to be determined by the evidence and this Court and the reasonable costs of

this lawsuit, including their reasonable attorneys’ fees.

  Count III: The Bias Incident Regulations violate Plaintiffs’ free speech
                                  rights.
    201. Plaintiffs repeat and reallege each of the allegations contained in

paragraphs 1–161 of this Complaint.

    202. Public universities cannot discriminate against students based on their

viewpoint or the content of their speech.



                                            32
Case 2:20-cv-00508-BRM-JAD Document 1 Filed 01/15/20 Page 33 of 40 PageID: 33




    203. The University’s Bias Education Response Taskforce expressly targets

speech based on the speaker’s viewpoint and the content of the speaker’s speech.

    204. The University’s definition of a “bias incident” encompasses speech that is

fully protected under the First Amendment.

    205. The University’s policies authorize Defendants to investigate, threaten to

punish, and punish students who perpetrate a “bias incident.”

    206. Plaintiffs fear that if they express views that some members of campus

may consider offensive, they will be investigated and punished for engaging in such

protected speech or, pursuant to a bias investigation, that they will be subject to

criminal charges from the University Police, a University No Contact Order from

Defendant Coleman-Carter, or disciplinary sanctions for discriminatory harassment

or for violating other University policies.

    207. Plaintiffs also fear that they will be subject to coercive “reeducation”

through counselling or by mandating that they attend some of its “educational”

social justice programs.

    208. Plaintiffs’ fears are credible and reasonable and based on past

enforcement, the University’s policies, statements, and the very existence and

express purpose of BERT.
    209. The University therefore threatens to discriminate against Plaintiffs solely

because of their viewpoint and the content of their speech by employing the “bias

incident” regulations and BERT against Plaintiffs.

    210. Defendants’ content- and viewpoint-based restrictions on “bias incidents”

violate Plaintiffs’ free speech rights because the restrictions do not serve a

compelling state interest, nor are the University’s restrictions the least restrictive

means of serving any such interest.

    211. The University’s definition of a “bias incident” is also unconstitutionally
overbroad. Plaintiffs seek to engage in protected expression in the open, outdoor
                                              33
Case 2:20-cv-00508-BRM-JAD Document 1 Filed 01/15/20 Page 34 of 40 PageID: 34




areas of campus, but MSU considers core political speech to fall within the

definition of “bias incident.”

    212. Plaintiffs therefore reasonably fear that Defendants will punish core

political speech by classifying it as a “bias incident.”

    213. Because of this reasonable fear, Plaintiffs have refrained from engaging in

speech on campus on certain topics and have thus had their protected speech chilled

by the University’s definition of “bias incident.”

    214. Defendants’ policies thus encompass, and actually target, a substantial

amount of protected speech and therefore are unconstitutionally overbroad.

Defendants’ Bias Incident Regulations thus violate Plaintiffs’ right to free speech

under the First Amendment.

    215. Pursuant to 42 U.S.C. §§ 1983 and 1988, Plaintiffs are entitled to a

declaration that Defendants, through the Bias Incident Regulations, have violated

and continue to violate Plaintiffs’ First Amendment right to free speech, and an

injunction against Defendants’ Bias Incident Regulations and associated practices

and actions facially and as-applied. Additionally, Plaintiffs are entitled to

compensatory and nominal damages in an amount to be determined by the evidence

and this Court and the reasonable costs of this lawsuit, including their reasonable
attorneys’ fees.

Count IV: The Speech Permit Policy violates Plaintiffs’ Due Process rights
                 because it is unconstitutionally vague.
    216. Plaintiffs repeat and reallege each of the allegations contained in

paragraphs 1–161 of this Complaint.

    217. Plaintiffs seek to engage in protected expression in the open, outdoor areas

of campus, but the Policy does not make clear what types of speech will trigger the

Speech Permit Policy’s “demonstrations and assemblies” requirements.



                                            34
Case 2:20-cv-00508-BRM-JAD Document 1 Filed 01/15/20 Page 35 of 40 PageID: 35




    218. Because Plaintiffs are unsure what type of speech is regulated, they have

refrained from engaging in speech on campus and have thus had their protected

speech chilled by the University’s definition of “demonstrations and assemblies.”

    219. Key operative terms such as “demonstration,” “assembly,” “emergent

situations,” and “special circumstances” in the Speech Permit Policy are

unconstitutionally vague facially and as-applied because they are not defined with

any precision, such that an ordinary person of reasonable intelligence cannot

understand what is prohibited.

    220. Pursuant to 42 U.S.C. §§ 1983 and 1988, Plaintiffs are entitled to a

declaration that Defendants, through the Speech Permit Policy, have violated and

continue to violate Plaintiffs’ Due Process rights, and an injunction against

Defendants’ Speech Permit Policy and associated practices and actions.

Additionally, Plaintiffs are entitled to compensatory and nominal damages in an

amount to be determined by the evidence and this Court and the reasonable costs of

this lawsuit, including their reasonable attorneys’ fees.

 Count V: The Class System violates Plaintiffs’ Due Process rights because
                      it is unconstitutionally vague.
    221. Plaintiffs repeat and reallege each of the allegations contained in

paragraphs 1–161 of this Complaint.
    222. The Fourteenth Amendment to the United States Constitution guarantees

Plaintiffs the right to due process of law and prohibits Defendants from

implementing vague standards that allow for viewpoint discrimination in

Defendants’ handling of Plaintiffs’ speech.

    223. The government may not regulate speech through policies that permit

arbitrary, discriminatory, or overzealous enforcement.




                                          35
Case 2:20-cv-00508-BRM-JAD Document 1 Filed 01/15/20 Page 36 of 40 PageID: 36




    224. The government also may not regulate speech in ways that do not provide

persons of common intelligence fair warning as to what speech is permitted and

what speech is prohibited.

    225. Defendants’ Class System Policy contains multiple vague criteria.

    226. Defendants have not defined key terms in the student organization

regulations with any precision, such that an ordinary person of reasonable

intelligence cannot understand what is prohibited.

    227. By failing to properly define these key terms, terms such as “entry level,”

“specific and unique interest,” “large and significant interest of the campus

community,” “general interest,” and “large, distinct, and prolific subculture,”

Defendants are maintaining a set of policies and practices that are

unconstitutionally vague, facially and as applied, and therefore violate each of the

Plaintiffs’ Due Process rights.

    228. Defendants enforced their vague Class System Policy against Plaintiffs by

classifying YAL as a Class IV organization based upon the viewpoint of their speech

which prohibits them from receiving the same benefits as other student

organizations.

    229. Pursuant to 42 U.S.C. §§ 1983 and 1988, Plaintiffs are entitled to a
declaration that Defendants, through the Class System, have violated and continue

to violate Plaintiffs’ Due Process rights, and an injunction against Defendants’

Class System and associated practices and actions both facially and as-applied.

Additionally, Plaintiffs are entitled to compensatory and nominal damages in an

amount to be determined by the evidence and this Court and the reasonable costs of

this lawsuit, including their reasonable attorneys’ fees.




                                          36
Case 2:20-cv-00508-BRM-JAD Document 1 Filed 01/15/20 Page 37 of 40 PageID: 37



  Count VI: The Bias Incident Regulations violate Plaintiffs’ Due Process
            rights because they are unconstitutionally vague.
    230. Plaintiffs repeat and reallege each of the allegations contained in

paragraphs 1–161 of this Complaint.

    231. Similarly, the University’s definition of a “bias incident” is

unconstitutionally vague. Plaintiffs seek to engage in protected expression in the

open, outdoor areas of campus, but the Regulations do not clearly define which

speech is prohibited and Plaintiffs are therefore unsure what types of speech MSU

considers a “bias incident” and thus are unsure what types of speech will trigger

retribution from the Bias Education Response Team, the Dean of Students, and the

University Police.

    232. Because Plaintiffs are unsure what type of speech is regulated, they have

refrained from engaging in speech on campus and have thus had their protected

speech chilled by the University’s definition of “bias incident.”

    233. Pursuant to 42 U.S.C. §§ 1983 and 1988, Plaintiffs are entitled to a

declaration that Defendants, through the Bias Incident Regulations, have violated

and continue to violate Plaintiffs’ Due Process rights, and an injunction against

Defendants’ Bias Incident Regulations and associated practices and actions facially

and as-applied. Additionally, Plaintiffs are entitled to compensatory and nominal
damages in an amount to be determined by the evidence and this Court and the

reasonable costs of this lawsuit, including their reasonable attorneys’ fees.

                              PRAYER FOR RELIEF
    Wherefore, Plaintiffs respectfully request that this Court enter judgment

against Defendants and grant Plaintiffs the following relief:

   A. A declaratory judgment that the Speech Permit Policy and associated

      practices violate Plaintiffs’ rights under the First and Fourteenth

      Amendments both facially and as-applied;
   B. A declaratory judgment that Defendants’ Class System and associated
                                           37
Case 2:20-cv-00508-BRM-JAD Document 1 Filed 01/15/20 Page 38 of 40 PageID: 38




      practices violate Plaintiffs’ rights under the First and Fourteenth

      Amendments both facially and as-applied;

   C. A declaratory judgment that Defendants’ Bias Incident Regulations and

      associated practices violate Plaintiffs’ rights under the First and Fourteenth

      Amendments both facially and as-applied;

   D. A preliminary and permanent injunction prohibiting Defendants, their

      agents, officials, servants, employees, and any other persons acting on their

      behalf from enforcing the Speech Permit Policy, Class System, Bias Incident

      Regulations, and associated practices challenged in this Complaint;

   E. Compensatory and nominal damages for the violation of Plaintiffs’ First and

      Fourteenth Amendment rights from the Defendants sued in their individual

      capacities;

   F. Plaintiffs’ reasonable attorneys’ fees, costs, and other costs and

      disbursements in this action pursuant to 42 U.S.C. § 1988; and

   G. All other further relief to which Plaintiffs may be entitled.



    Plaintiffs demand a trial by jury in this cause of action.

    Respectfully submitted on the 15th day of January, 2020,

 s/ Michael Laffey                          Michael R. Ross*
 Michael P. Laffey                          Tyson C. Langhofer*
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                                          38
Case 2:20-cv-00508-BRM-JAD Document 1 Filed 01/15/20 Page 39 of 40 PageID: 39




                                     39
Case 2:20-cv-00508-BRM-JAD Document 1 Filed 01/15/20 Page 40 of 40 PageID: 40




                            Certificate of Compliance

      I, Michael P. Laffey, certify in accordance with 28 U.S.C. § 1746 and Local

Civil Rule 11.2 that the matter in controversy is not the subject of any other action

or proceeding before any court, any pending arbitration, or any administrative

proceeding.

    Dated this 15th day of January, 2020.


                                               s/ Michael P. Laffey
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                                          40
